            Case 3:19-cv-00019-CDL Document 17 Filed 07/22/19 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  ATHENS DIVISION

JOSHUA R. MICHAEL,
HILLARY A. MICHAEL, and
WILLIAM T. RUSSELL,
Individually and as Trustee of the
William T. Russell Inter Vivos Trust,

                 Plaintiffs,
                                                           CIVIL ACTION NO.
        v.                                                 3:19-CV-00019-CDL

GRP MADISON LLC,
GEORGIA RENEWABLE POWER LLC, and
GREENFUELS ENERGY LLC,

                 Defendants.


              ORDER GRANTING JOINT MOTION TO EXTEND THE STAY

       Having reviewed the Parties’ Joint Motion to Extend the Stay for Sixty Days filed on July

19, 2019, ECF No. 16, and for good cause shown, the Court hereby GRANTS the Motion and

ORDERS:

       1.       All discovery, including the requirements of the Rules 16 and 26, are hereby

stayed for another sixty (60) days (until September 23, 2019);

       2.       During the stay, the Parties shall continue to work in good faith to reach an

amicable resolution of this matter;

       3.       Either party may move the Court for a dissolution of the stay at any time during

its pendency, provided however that any such motion shall include a certification by counsel that

any impasse was attempted to be resolved in good faith prior to the filing of such motion; and
            Case 3:19-cv-00019-CDL Document 17 Filed 07/22/19 Page 2 of 2



       4.       If this matter is not resolved during the pendency of the stay, or any further

extension granted by the Court, the Parties shall meet and submit a proposed joint scheduling

order within fourteen (14) days of the expiration of the stay.

       SO ORDERED this 22nd day of July, 2019.


                                               S/Clay D. Land
                                               CLAY D. LAND, CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT




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